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Receiver for Roger S. Bliss, et al.


                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


SECURITIES AND EXCHANGE                                NINTH STATUS REPORT
COMMISSION,

          Plaintiff,                                   Case No. 2:15-cv-00098-RJS
vs.                                                    District Judge: Robert J. Shelby
ROGER S. BLISS, et al.,

          Defendants.


          Tammy B. Georgelas, the Court-appointed receiver (the “Receiver”) for Roger S. Bliss,

Roger Bliss and Associates Equities, LLC, Roger Bliss and Associates Club LLC, and Bliss Club

LLC (collectively the “Receivership Defendants”), respectfully submits this Ninth Status Report

to provide an update on the work and findings to date of the Receiver and her counsel, agents,

and advisors (the “Receivership Team”).

I.        SUMMARY OF OPERATIONS

          A.        Initial Work

          This Receivership was instituted on June 10, 2015.1 As detailed in the Receiver’s prior


1
     See Order Appointing Receiver, Dkt. No. 39.

                                                   1
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status reports,2 she focused a significant portion of her time during the first two years of the

Receivership marshalling, managing, and selling real and personal property. These efforts

included pursing assets hidden by Roger Bliss and his brother-in-law3 (resulting in felony

convictions for both men), thwarting claims by lien creditors to seize a luxury home and a cabin

in Bear Lake, Idaho, and interviewing dozens of investors, insiders, and third parties to locate

and recover Estate assets.

         During that time the Receivership Team also developed an efficient Claims Resolution

Process, through which they accurately determined the claims of nearly all 150 investors such

that judicial resolution was needed for only 2 claimants. The Receiver prevailed on both

disputes, resulting in a decrease of $1,000,000 in claims against the Estate, and an increase of

over $200,000 in claims against a Net Winner. Negotiations with investors also resulted in the

reduction of approximately $2,350,000 in claims against the Estate based on agreements to

aggregate amounts lost by certain investors with amounts owed by related Net Winners.

         In February 2017 the Receiver was able to make her First Distribution to victims totaling

$2,409,093.10, which gave every investor with an accepted claim a return of at least 27.33% of

his or her total investment under a Rising Tide analysis.

         While the Receiver was marshalling assets and resolving claims, she was also pursing


2
  See Preliminary Liquidation Plan and Status Report, Dkt. No. 90; Quarterly Status Report, Dkt.
No. 120; Third Quarterly Status Report, Dkt. No. 147; Fourth Quarterly Status Report, Dkt. No.
172; Fifth Quarterly Status Report, Dkt. No. 186; Sixth Quarterly Status Report, Dkt. No. 191;
Seventh Quarterly Status Report, Dkt. No. 193; and Eighth Status Report, Dkt. No. 252.
3
  See Notice of Apparent Failure of Roger S. Bliss to Comply with Court Order, Dkt. No. 57;
Notice of Supplemental Notice of Apparent Failure of Roger S. Bliss to Comply with Court
Order, Dkt. No 82.

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Net Winners. By the summer of 2017, resolution of some lawsuits had resulted in over $375,000

in returns to the Receivership Estate. These represented some of the smaller claims against Net

Winners, and there remained 15 lawsuits that sought to return over $4,500,000 to the Estate.

         B.         Standing to Pursue Net Winner Lawsuits

         In July 2017, after a year of negotiations with the Receivership Team, Net Winner Steve

Devereaux filed a “Motion for Summary Judgment and/or for Dismissal” (the “Motion to

Dismiss”) arguing that the Receiver lacked standing to pursue the lawsuit. Other Defendants

followed suit, and litigation erupted over whether the Receiver had the authority sue Net

Winners. Because the issue of standing affects the Receiver’s right to pursue every Net Winner,

the Receiver entered into tolling agreements that stayed the individual lawsuits pending

resolution of the dispute.

         The Receiver spent the next year and a half safeguarding her right to pursue claims

against Net Winners to recover their spoils and return further distributions to the victims. After

extensive litigation and hearings, the Court granted the Receiver 90 days to perform additional

discovery to support her position. Afterward, the Receiver was directed to meet with Mr.

Devereaux to provide her findings. At that point, Mr. Devereaux could choose to either renew

his Motion to Dismiss or proceed with the lawsuit against him.

         The Receiver utilized the discovery period to prove the legal elements showing that

Roger Bliss did not act alone, that his Trading Club existed as a business, and therefore the

Receiver had standing to pursue the Net Winner lawsuits. After three months of discovery, the

parties met to discuss its results. Mr. Devereaux informed the Receiver that he would neither

agree that she has standing, nor renew his Motion to Dismiss. Instead, he would strategically file

                                                  3
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an Answer that asserted lack of standing as an affirmative defense, to be determined in the

future, possibly during a separate trial on the issue.

         Mr. Devereaux’s decision undermined ten months of litigation and discovery, reserving

the issue of standing to be litigated yet again at some future date and opening the Estate to

attacks by all Net Winners on the Receiver’s ability to pursue any claims against them.

Allowing the remaining Defendants to reserve the issue of standing for trial would skyrocket the

costs of litigation, on an issue that the Receiver believed had already been determined.

         This was unacceptable to the Receiver, whose duty to prosecute claims against Net

Winners is founded on her obligation to return the most funds possible to the true victims of

Roger Bliss’s Ponzi Scheme. She took the offensive and filed a Motion to Amend the Order

Appointing Receiver (the “Motion to Amend”) seeking an affirmative ruling from the Court that

she does, in fact, have standing to pursue all Net Winners under Utah’s Uniform Voidable

Transactions Act.4

         After Mr. Devereaux filed an opposition to the Motion to Amend, the Court directed the

Receiver to send notice to all Net Winner Defendants allowing them 14 days to file their own

opposition, and informing them that a hearing would take place after submission of all filings.

The Court also asked counsel for the Securities and Exchange Commission (“SEC”) to submit a

brief on the matter.

         Defendants Stanton Call, Desert Hill Ventures, David Hill, Wade Olsen, and Spring

Grove Investments, LLC then filed Oppositions to the Motion to Amend.5 The Estate’s claims


4
    SEC v. Bliss, Case No. 2:15-cv-0098, Dkt. No. 208.
5
    Dkt. No. 224.

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against just these 5 Defendants totaled nearly $3,000,000. Their attorneys appeared at the

hearing to argue against the Motion to Amend, as did counsel for Mr. Devereaux, Jeanine Bliss,

and Michelle Bliss. Counsel for the SEC submitted a brief on the issue and presented argument

in favor of the Receiver’s Motion to Amend, as did with counsel for the Receiver.

          On November 27, 2018, the Court entered a Memorandum Decision and Order Granting

the Receiver’s Motion to Amend.6 The Court ruled that the Receiver has standing to pursue all

Net Winner lawsuits because Bliss’s Trading Club was an unincorporated association that

transacted business under a common name, and as such he did not act alone in his scheme.7

          C.        Litigating Net Winner Lawsuits

          Having resolved the issue of standing, the Receiver terminated the tolling agreements and

renewed her pursuit of the 15 remaining Net Winner lawsuits to return funds to the victims of

Roger Bliss’s scheme. The Receiver sent communications offering to settle their cases prior to

incurring the time and expense of discovery and further litigation, agreeing to take their financial

situation into consideration when determining a settlement amount if they agreed to produce a

detailed Financial Affidavit supported by third party documentation. Numerous defendants

produced accurate Financial Affidavits and negotiated in good faith with the Receiver. After

performing her own extensive due diligence to determine the true assets of these defendants, the

Receiver was able to resolve 10 of the lawsuits without further litigation. The settlements

returned $314,900 to the Receivership Estate.




6
    Dkt. No. 241.
7
    Id.

                                                     5
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          The Receiver pursued litigation in the remaining 5 lawsuits against Stanton Call, Desert

Hill Ventures, David Hill, Wade Olsen, and Spring Grove Investments. After the close of fact

discovery, expert discovery, and submitting Expert Reports, the Receiver filed Motions for

Summary Judgment on February 28, 2020 seeking a ruling from the Court that Roger Bliss ran a

Ponzi Scheme, and the defendants were liable for all amounts they received above any funds

they invested into the scheme, or for work performed in furtherance of the scheme. The

defendants opposed the Receiver’s motions on April 10, 2020, and the Receiver filed her Replies

in Support of Motion for Summary Judgment on May 1, 2020.

          While the Court was making its decision on the Receiver’s Motions for Summary

Judgment, the Receiver continued to engage in settlement discussions with the defendants. On

November 5, 2020, the Receiver participated in a mediation with Stanton Call before Magistrate

Judge Cecilia Romero. The parties were successful in resolving the lawsuit at mediation, and

entered into a confidential settlement agreement on November 27, 2020.

          On November 30, 2020, the Court entered a Joint Memorandum Decision and Order

granting the Receiver’s Motions for Summary Judgment against Wade Olsen and Spring Grove

Investments, avoiding their fraudulent transfers and holding that the Receiver could recover the

amounts they received in excess of the investments they had made. The Court held that Mr.

Olsen had received $265,172 more than he had invested in the Bliss Ponzi Scheme, and that

Spring Grove had received $782,441.86 more than it invested in the scheme. On December 18,

2020, Mr. Olsen entered into a confidential settlement agreement to repay the Receivership

Estate.




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         Spring Grove refused to settle with the Receiver, and the Court entered an Order of Final

Judgment against the company on December 16, 2020. That order was not appealed, and the

Receiver is currently in litigation to enforce the judgment against Spring Grove and is seeking to

have the judgment enforced against Spring Grove’s individual members.

         On January 4, 2021, the Court entered a Joint Memorandum Decision and Order granting

the Receiver’s Motions for Summary Judgment against Desert Hill Ventures, Inc. and David Hill

individually, avoiding their fraudulent transfers and holding that the Receiver could recover the

amounts and benefits they received from the scheme. The Court held that Desert Hill Ventures

had received $317,000 in fraudulent transfers from the Bliss Ponzi Scheme, and that Mr. Hill had

received $30,000 in payments plus the value of $113,878 paid to third-party contractors to

remodel his home.

         After the ruling, the Receiver attempted to resolve the lawsuits with Mr. Hill and his

company. Negotiations failed and Mr. Hill obtained new counsel to represent him and his

company. On February 16, 2021 the Court entered an Order of Final Judgment against Mr. Hill

and Desert Hill Ventures. They appealed that order on March 18, 2021. After briefing on the

issue, the Tenth Circuit Court of Appeals heard oral argument on the matter on November 15,

2021. The parties are now awaiting a ruling on the matter. The Receiver has also filed an alter

ego complaint against David Hill, arguing that he should be held individually liable for the

amount owed by Desert Hill Ventures. That litigation is proceeding.

         D.         Marshalling, Managing, and Sale of Property

                    1.     Real Property

         The Receiver has marshalled and sold all real property of the Estate. Sale of real

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property provided a net profit to the Estate of $1,382,315.49.

                    2.     Personal Property

         The Receiver has also marshalled and sold all personal property that has been

acknowledged by the Receivership Defendants and related third parties.             Sale of personal

property provided a net profit to the Estate of approximately $475,000.

                    3.     Donations to the Church of Jesus Christ of Latter Day Saints

         After negotiations with the Receiver, the Church of Jesus Christ of Latter Day Saints

voluntarily agreed to disgorge donations made by Roger Bliss in the amount of $177,900.

         E.         Second Interim Distribution

         On December 17, 2021, the Receiver mailed the Second Interim Distribution checks to

investors totaling $400,000.        This distribution returned funds to investors such that every

investor with an accepted claim has now received a return of at least 30.84% of his or her total

investment under a Rising Tide analysis.

II.      STATUS OF CLAIMS PROCEEDINGS

         All claims have now been resolved in accordance with the Receiver’s Plan for Claims

Administration, Loss Allocation and Distribution.             The Receiver was able to obtain

documentation, resolve outstanding issues, and cooperatively agree upon a claim amount for

nearly all of the approximately 150 investors. The collaborative process resulted in the Receiver

sending just 2 Claim Determination Notices to be resolved by the Court.

         On February 9, 2017 the Court granted the Receiver’s Motion for Claim Resolution

regarding investor James Percy, denying his request that the Estate disgorge a $1,000,000




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investment he made in February 2015.8       This ruling allowed the Receiver to include the

$1,000,000 at issue as part of the funds she distributed in her First Interim Distribution to

investors.

         On January 16, 2018 the Court granted the Receiver’s Motion for Claim Resolution

Regarding Investor Kevin Fortney, which resolved a dispute over the total amount of his

investment into the scheme.9 The Court determined that Mr. Fortney’s Invested Amount was

$120,600, instead of “$400,000-$500,000.” This ruling allowed the Receiver to pursue $545,900

against Mr. Fortney in a net winner lawsuit, instead of $166,500.      Earlier this year, after

extensive research to unearth Mr. Fortney’s true assets, the Receiver negotiated a beneficial

settlement with him. Proceeds from that settlement, as well as those discussed above, allowed

the Receiver to make her Second Interim Distribution.

III.     DESCRIPTION OF REMAINING RECEIVERSHIP PROPERTY

         1.         Liquid Assets

         The Receiver has marshalled all known bank accounts, and has sold all known personal

and real property.10 The Receiver has made her First and Second Interim Distributions totaling

$2,443,626.50, which resulted in a return of at least 30.84% of each victim’s total investment

under a Rising Tide analysis.       The Receivership Estate’s bank account currently holds

$397,129.52 in unencumbered funds.



8
     Dkt. No 170.
9
    Dkt. No. 205.
10
   Except for de minimus electronics such as computers and storage devices that may remain
useful during the pendency of the Receivership.

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         2.         Estate Claims Against Third Parties

         As discussed above, the Estate has claims against the remaining Net Winners totaling

approximately $1,200,000.

IV.      CASH ON HAND, ADMINISTRATIVE EXPENSES, AND UNENCUMBERED
         FUNDS

         The Estate currently holds liquid assets of $797,129.52 from which all general operating

and administrative expenses of the estate are paid. As explained above, the Receiver recently

made the Second Interim Distribution in the total amount of $400,000. As such, the Receiver’s

bank account holds $397,129.52 in unencumbered funds.             A schedule of the Receivership

Estate’s receipts and disbursements for October 1, 2020 through September 30, 2021 is attached

as Exhibit A.

         Most administrative expenses since the last status report have related to the litigation

pursuing Net Winner lawsuits and enforcing judgments. The Receiver has provided her Ninth

Fee Application to the SEC, and anticipates submitting the same to the Court in the near future.

Since the inception of the Receivership, the Court has approved fees of $909,561.51 for the

Receiver and her attorneys, and costs of $22,123.96. In addition, the Court has approved fees

and costs of $79,365.38 for the Receiver’s forensic accountants.

V.       RELATED CASES

         A.         The State of Utah v. Roger S. Bliss, Case No. 151907989

         Roger Bliss is currently serving a sentence of 4 to 30 years in state prison (the “Criminal

Enforcement Action”) after pleading guilty to four counts of Securities Fraud and one count of

Pattern of Unlawful Activity. He was taken into custody on February 26, 2016.



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         Mr. Bliss’s first parole hearing was held on September 12, 2016.         Because of his

recalcitrant attitude at the hearing, the Board of Pardons and Parole (the “Parole Board”)

determined that he would not be allowed a subsequent parole hearing until February 2026—ten

years after being taken into custody. The Parole Board noted that prior to his rehearing, Mr.

Bliss must complete “significant Cognitive Behavioral Therapy classes,” cooperate with federal

and state authorities regarding asset disgorgement for restitution, and make significant efforts to

pay restitution.

         Mr. Bliss has made a redetermination request seeking to change the date of his next

parole hearing. A hearing on the redetermination request is scheduled to take place in April

2022. The assertions in Mr. Bliss’ redetermination request will be examined at the rehearing and

Mr. Bliss will be allowed to submit any documentation that he feels will be helpful to the Parole

Board. In addition, an updated Institutional Progress Report and Level of Service/Risk, Need,

Responsivity Report (an assessment used by public safety organizations to determine an

offender’s risk of recidivism, as well as his or her required rehabilitation, supervision, and

programming needs) is due to the Board of Pardons by March 1, 2022.

         Victims are not required to attend parole hearings, but they may attend and choose to

testify or submit written comments. A victim attending a hearing will not be photographed

without the consent of the victim and the approval of the hearing official. Utah law requires that

victims be notified of parole hearings, which notification normally takes place 3-4 weeks before

a hearing. Victims who want to receive notifications or update their contact information may

contact the Parole Board at: https://bop.utah.gov/index.php/90-bop-about-the-board-category/85-

bop-contact-article. Victim contact information will not be released to the offender.

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         Mr. Bliss was ordered to repay restitution of $21,068,438 to the victims of his scheme. In

July 2018, Mr. Bliss filed a Motion to Adjust Restitution seeking to reduce the amount from

$21,068,437.52 to $8,825,393.12, and determine that only $6,413,413.18 remained due and

owing because the victims have received $2,411,979.94 from the Receivership Estate via the

Receiver’s First Interim Distribution. The State of Utah filed a Response arguing that the request

should be denied because Mr. Bliss stipulated to the restitution amount and never requested a

hearing, and furthermore that any changes in restitution amount should be determined by the

Parole Board. Mr. Bliss filed a reply and requested a hearing on the matter, which was set for

January 18, 2019. He later withdrew his motion, and the hearing was cancelled. However, the

Parole Board has noted in its records that “Mr. Bliss” has paid $2,411,979.00 toward restitution,

leaving a balance of $18,656,458.52 plus interest.

         B.         USA v. Bliss, 2:15-cr-00484-CW-DBP-1

         After serving his state prison sentence relating to the Criminal Enforcement Action, Mr.

Bliss will be transferred to federal prison to serve a 12 month sentence for perjury and

obstruction of justice relating to his efforts in conjunction with his brother-in-law to hide a

sailboat from the Receiver.

         C.         USA v. Fortney, 2:15-cr-00484-CW-DBP-2

         Kevin Fortney, Roger Bliss’s brother-in-law, was sentenced to 12 months in prison for

False Declaration before a Court of the United States and False Statement to a Federal Agent

relating to his efforts in conjunction with Roger Bliss to hide the sailboat from the Receiver. Mr.

Fortney has served his sentence and his probation ended on November 1, 2018.




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VI.      CREDITORS

         Aside from victims, there are no known creditors of the estate at this time. Because the

Receiver has sold all real property, no utilities remain and all lenders have been paid in full.

Recurring services have been cancelled. No creditors filed a Claim Form, despite being provided

notice directly and via advertisement in the commercial records in Salt Lake County, Davis

County, and Bear Lake County. The Claims Bar Date has passed.

VII.     RECOMMENDATION FOR CONTINUATION OF RECEIVERSHIP

         The Receiver is actively pursuing the final 3 net winner lawsuits. She continuously

considers the costs of pursuing the cases in light of the benefits they are likely to bring to the

estate. The Receiver believes the total amount owed by the remaining defendants is over

$1,200,000, and that they have the ability to pay a significant portion of their debt. Based on this

information, the Receiver recommends that the Court allow her to proceed and maintain the

Receivership until her duties have been completed. Upon resolution of the last New Winner

lawsuit, the Receiver intends to make her Final Distribution to victims and wind down the

Receivership Estate.

         RESPECTFULLY SUBMITTED this 19th day of December, 2020.

                                                  PARSONS BEHLE & LATIMER


                                                  /s/ Tammy B. Georgelas
                                                  Tammy B. Georgelas

                                                  Receiver for Roger S. Bliss, et al.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 19th day of December, 2020, I caused the foregoing NINTH

STATUS REPORT to be electronically filed with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to all counsel of record.


                                              /s/ Tammy B. Georgelas




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                                 Exhibit A

                      Standardized Fund Accounting Reports




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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period October 1, 2020 to December 31, 2020

                                                                                   October 1, 2020
                                                                                      through
                                                                                    December 31,       Receivership
                                                                                        2020           Cumulative
            Beginning Balance:                                                    $     102,746.63   $           -

            Cash Receipts
                Business Income                                                                -                -
                Cash and Securities                                                            -         898,934.42
                Interest/Dividend Income                                                       -                -
                Business Asset Liquidation                                                     -                -
                Personal Asset Liquidation                                                             1,860,071.34
                Third-Party Litigation Income                                                 -                 -
                Net Winner Settlements                                                 679,500.00      1,123,464.45
                Other Settlements                                                             -          177,900.00
                Miscellaneous - Other                                                         -               77.08
            Total Cash Receipts                                                        679,500.00      4,060,447.29

            Cash Disbursements
                Disbursements to Investors                                                     -       2,403,626.50
                Disbursements for Receivership Operations
                Disbursements to Receiver or Other Professionals                       224,181.40      1,008,195.16
                Business Asset Expenses                                                                       37.55
                Personal Asset Expenses                                                    100.00         76,204.30
                Investment Expenses                                                                             -
                Third-Party Litigation Expenses                                                                 -
                   1. Attorney Fees                                                                             -
                   2. Litigation Expenses                                                                 14,418.55
                Tax Administrator Fees and Bonds
                Federal and State Tax Payments
                Disbursements for Distribution Expenses Paid by the Fund:
                   Distribution Plan Development Expenses:
                   1. Fees:
                         Fund Administrator
                         Independent Distribution Consultant (IDC)
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses:
                   3. Miscellaneous
                   Distribution Plan Implementation Expenses:
                   1. Fees:
                         Fund Administrator
                         IDC
                         Distribution Agent
                         Consultants
                         Legal Advisors
                         Tax Advisors
                   2. Administration Expenses
                   3. Investor Identification:
                         Notice/Publishing Approved Plan
                         Claimant Identification
                         Claims Processing
                         Web Site Maintenance/Call Center
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                Disbursements to Court/Other:
                   Investment Expenses/Court Registry Investment System
                (CRIS) fees
                   Federal Tax Payments
            Total Disbursements                                                        224,281.40      3,502,482.06
            Ending Cash Balance                                                        557,965.23        557,965.23

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                  569,314.23
                   Unposted Deposits                                                                            -
                   Uncleared Funds                                                                       (11,349.00)
                 Total Ending Balance of Fund - Net Assets (Check register)                              557,965.23
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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period January 1, 2021 to March 31, 2021

                                                                                    Januray 1, 2021
                                                                                       through          Receivership
                                                                                    March 31, 2021      Cumulative
             Beginning Balance:                                                    $    557,965.23    $           -

             Cash Receipts
                 Business Income                                                                -                -
                 Cash and Securities                                                            -         898,934.42
                 Interest/Dividend Income                                                       -                -
                 Business Asset Liquidation                                                     -                -
                 Personal Asset Liquidation                                                             1,860,071.34
                 Third-Party Litigation Income                                                 -                 -
                 Net Winner Settlements                                                  89,000.00      1,212,464.45
                 Other Settlements                                                          200.00        178,100.00
                 Miscellaneous - Other                                                         -               77.08
             Total Cash Receipts                                                         89,200.00      4,149,647.29

             Cash Disbursements
                 Disbursements to Investors                                                     -       2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                               -       1,008,195.16
                 Business Asset Expenses                                                                       37.55
                 Personal Asset Expenses                                                     30.00         76,234.30
                 Investment Expenses                                                                             -
                 Third-Party Litigation Expenses                                                                 -
                    1. Attorney Fees                                                                             -
                    2. Litigation Expenses                                                                 14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                             30.00      3,502,512.06
             Ending Cash Balance                                                        647,135.23        647,135.23

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                   647,135.23
                   Unposted Deposits                                                                             -
                   Uncleared Funds                                                                               -
                 Total Ending Balance of Fund - Net Assets (Check register)                               647,135.23
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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period April 1, 2021 to June 30, 2021

                                                                                      April 1, 2021
                                                                                        through         Receivership
                                                                                     June 30, 2021      Cumulative
             Beginning Balance:                                                    $     647,135.23   $           -

             Cash Receipts
                 Business Income                                                                -                -
                 Cash and Securities                                                            -         898,934.42
                 Interest/Dividend Income                                                       -                -
                 Business Asset Liquidation                                                     -                -
                 Personal Asset Liquidation                                                             1,860,071.34
                 Third-Party Litigation Income                                                 -                 -
                 Net Winner Settlements                                                 154,000.00      1,366,464.45
                 Other Settlements                                                             -          178,100.00
                 Miscellaneous - Other                                                         -               77.08
             Total Cash Receipts                                                        154,000.00      4,303,647.29

             Cash Disbursements
                 Disbursements to Investors                                                     -       2,403,626.50
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                               -       1,008,195.16
                 Business Asset Expenses                                                                       37.55
                 Personal Asset Expenses                                                     30.00         76,264.30
                 Investment Expenses                                                                             -
                 Third-Party Litigation Expenses                                                                 -
                    1. Attorney Fees                                                                             -
                    2. Litigation Expenses                                                                 14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                       Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                             30.00      3,502,542.06
             Ending Cash Balance                                                        801,105.23        801,105.23

                  Ending Balance of Fund - Net Assets:
                  Bank Statement Balance                                                                  801,105.23
                    Unposted Deposits                                                                            -
                    Uncleared Funds                                                                              -
                  Total Ending Balance of Fund - Net Assets (Check register)                              801,105.23
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ZIONS BANK RECEIVER ACCOUNTS FOR THE ESTATE OF ROGER S. BLISS
Cash Receipts and Disbursements
For the Period July 1, 2021 to September 30, 2021

                                                                                       July 1, 2021
                                                                                         through
                                                                                     September 30,        Receivership
                                                                                           2021           Cumulative
             Beginning Balance:                                                    $       801,105.23   $           -

             Cash Receipts
                 Business Income                                                                 -                 -
                 Cash and Securities                                                             -          898,934.42
                 Interest/Dividend Income                                                        -                 -
                 Business Asset Liquidation                                                      -                 -
                 Personal Asset Liquidation                                                               1,860,071.34
                 Third-Party Litigation Income                                                   -                 -
                 Net Winner Settlements                                                          -        1,366,464.45
                 Other Settlements                                                               -          178,100.00
                 Miscellaneous - Other                                                           -               77.08
             Total Cash Receipts                                                                 -        4,303,647.29

             Cash Disbursements
                 Disbursements to Investors                                                 3,948.71      2,407,575.21
                 Disbursements for Receivership Operations
                 Disbursements to Receiver or Other Professionals                                -        1,008,195.16
                 Business Asset Expenses                                                                         37.55
                 Personal Asset Expenses                                                       27.00         76,291.30
                 Investment Expenses                                                                               -
                 Third-Party Litigation Expenses                                                                   -
                    1. Attorney Fees                                                                               -
                    2. Litigation Expenses                                                                   14,418.55
                 Tax Administrator Fees and Bonds
                 Federal and State Tax Payments
                 Disbursements for Distribution Expenses Paid by the Fund:
                    Distribution Plan Development Expenses:
                    1. Fees:
                          Fund Administrator
                          Independent Distribution Consultant (IDC)
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses:
                    3. Miscellaneous
                    Distribution Plan Implementation Expenses:
                    1. Fees:
                          Fund Administrator
                          IDC
                          Distribution Agent
                          Consultants
                          Legal Advisors
                          Tax Advisors
                    2. Administration Expenses
                    3. Investor Identification:
                          Notice/Publishing Approved Plan
                          Claimant Identification
                          Claims Processing
                          Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting
                        Expenses
                 Disbursements to Court/Other:
                    Investment Expenses/Court Registry Investment System
                 (CRIS) fees
                    Federal Tax Payments
             Total Disbursements                                                           3,975.71       3,506,517.77
             Ending Cash Balance                                                         797,129.52         797,129.52

                 Ending Balance of Fund - Net Assets:
                 Bank Statement Balance                                                                     797,129.52
                   Unposted Deposits                                                                               -
                   Uncleared Funds                                                                                 -
                 Total Ending Balance of Fund - Net Assets (Check register)                                 797,129.52
